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                                   UNITED STATES DISTRICT COURT                         Courts for the District ot COI~~~ra
                                   FOR THE DISTRICT OF COLUMBIA


    Danny Joe Hirschfield,                         )
                                                   )
                    Plaintiff,                     )
                                                   )
            v.                                     )      Civil Action No.
                                                   )
    State of California et al. ,                   )
                                                   )
                     Defendants.                   )


                                       MEMORANDUM OPINION

            This matter is before the Court on review of plaintiff s pro se complaint and application

    to proceed in forma pauperis. The Court will grant plaintiff s application and dismiss the

    complaint for lack of subject matter jurisdiction. See Fed. R. Civ. P. 12(h)(3) (requiring the court

    to dismiss an action "at any time" it determines that subject matter jurisdiction is wanting).

            Plaintiff is a resident of Capitol Heights, Maryland, suing the State of California and its

    Department of Mental Health, for, among other alleged wrongs, detaining him against his will

    "for certain periods at a time" over 10 years, Compi. at 2, and forcibly medicating him. See id. at

    2-3. The Eleventh Amendment to the U.S. Constitution immunizes a state from suit in federal

    court, unless immunity is waived. I See College Sav. Bank v. Florida Prepaid Postsecondary

    Educ. Expense Bd., 527 U.S. 666, 675-76 (1999); Keenan v. Washington Metropolitan Area

    Transit Authority, 643 F. Supp. 324, 327-28 (D.D.C. 1986) (citing cases). A waiver is found


            I The amendment provides in pertinent part: "[t]he judicial power of the United States

    shall not be construed to extend to any suit in law or equity, commenced or prosecuted against
    one ofthe United States by Citizens of another State." U.S. Const. amend. XI. It is long
    established that this amendment applies equally to suits brought by citizens against their own
    states. See Edelman v. Jordan, 415 U.S. 651, 662-63 (1974); Hans v. Louisiana, 134 U.S. 1,
    13-15 (1890).


N                                                                                                                             3
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"only where stated 'by the most express language or by such overwhelming implications from the

test as [will] leave no room for any other reasonable construction.' " Morris v. Washington

Metropolitan Area Transit Authority, 781 F.2d 218,221 (D.C. Cir. 1986) (internal citations

omitted).

       Plaintiff has not alleged, and the complaint does not reveal, a basis from which the Court

may find a waiver of California's immunity, which generally extends to its agencies. Therefore,

the complaint will be dismissed. See Citizens Alert Regarding Environment v. EPA, 102 Fed.

Appx. 167, 169 (D.C. Cir. 2004) ("As CARE has sued these state agencies directly rather than

pursuing its claim[ s] ... against individual state officers, the Eleventh Amendment deprives the

court of jurisdiction as there is no indication that Congress has abrogated, or the state waived,

sovereign immunity towards suits of this kind.") (citation omitted).2 A separate Order of

dismissal accompanies this Memorandum Opinion.




October     13 ,2011



         2 Even if plaintiff could establish a waiver of immunity, the complaint arises from events
that allegedly took place in Los Angeles, California, and, thus, reveals no connection to the
District of Columbia. Hence, this judicial district would not be the proper venue for litigating
plaintiffs claims. See 28 U.S.C. § 1391(b) (designating the proper venue under the
circumstances presented as the location where the defendants reside or where a substantial part of
the events occurred); see also, e.g., Hirschfield v. Us. Dep 'f of Homeland Security, Civ. No. 11-
1441 (UNA) (D.D.C. Aug. 8,2011) (transferring plaintiffs earlier submitted case to the Central
District of California).

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